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            IN THE UNITED STATES COURT OF INTERNATIONAL TRADE


Resolute FP Canada Inc., the Conseil
de l'Industrie forestière du Québec
and the Ontario Forest Industries
Association,

                  Plaintiffs,

       v.
                                              Court No. 23-00206
United States,

                  Defendant.




                                       COMPLAINT


       1.     Plaintiffs Resolute FP Canada Inc. (“Resolute”), the Conseil de l'Industrie

    forestière du Québec (“CIFQ”) and the Ontario Forest Industries Association

    (“OFIA”) (collectively, “Central Canada” or “Plaintiffs”),1 by and through their

    counsel, allege and state as follows:

                                      JURISDICTION

       2.     Plaintiffs bring this action pursuant to 19 U.S.C. §§ 1516a(a)(2)(A)(i)(I) and

    (a)(2)(B)(iii) to contest certain aspects of the United States Department of

    Commerce’s (“Commerce”) Final Results of the 2021 administrative review of the

    antidumping duty order on certain softwood lumber products from Canada, Case No.

    A-122-857. See Certain Softwood Lumber Products From Canada: Final Results of

    Antidumping Admin. Review and Final Determination of No Shipments; 2021, 88


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  See Attachment A for member companies whose interests CIFQ and OFIA represent
in this action.
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Fed. Reg. 50,106 (Dep’t Commerce Aug. 1, 2023) (“Final Results”), and

accompanying Issues & Decision Memorandum (“IDM”), as amended in Certain

Softwood Lumber Products From Canada: Amended Final Results of Antidumping

Duty Administrative Review in Part; 2021, 88 Fed. Reg. 61,511 (Dep’t Commerce

Sep. 7, 2023) (Amend. Final Results).

   3.        This Court has exclusive jurisdiction over this matter pursuant to 28 U.S.C.

§ 1581(c).

                             PARTIES AND STANDING

   4.        Resolute is “a foreign producer and exporter” of softwood lumber, CIFQ

and OFIA are “trade{s} or business association{s} a majority of the members of

which are producers, exporters, or importers of {softwood lumber};” and, therefore,

Plaintiffs are interested parties within the meaning of 19 U.S.C. § 1677(9)(A) and 19

U.S.C. § 1516a(f)(3). Plaintiffs were also parties to the administrative proceeding

that led to the determination that is being challenged here, as Plaintiffs entered

appearances, fully participated in the proceeding, and submitted a case brief and

rebuttal brief to Commerce in connection with that proceeding. Accordingly,

Plaintiffs have standing pursuant to 28 U.S.C. § 2631(c) to commence this action.

   5.        Defendant is the United States of America, acting by and through the U.S.

Department of Commerce.

                              TIMELINESS OF ACTION

   6.        On August 1, 2023, Commerce published in the Federal Register the Final

Results, 88 Fed. Reg. at 50,106.

   7.        As the Final Results involve imports of softwood lumber from Canada, a

free trade area country within the meaning of 19 U.S.C. § 1516a(f)(9)(A), the time

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    limits for commencing an action before this Court do not begin to run until the 31st

    day after publication of the Final Results in the Federal Register, 19 U.S.C. §

    1516a(a)(5). Thus, the statutory deadline for filing an appeal of the Final Results is

    thirty days from September 1, 2023, 19 U.S.C. §§ 1516a(a)(2)(A)(i)(I) and

    (a)(2)(B)(iii).

        8.      Plaintiffs timely filed a Notice of Intent to Commence Judicial Review with

    the United States Secretary of the United States-Mexico-Canada Agreement

    (“USMCA”) Secretariat on August 21, 2023. Plaintiffs timely filed a Summons, ECF

    No. 1, on October 2, 2023, within thirty days of September 1, 2023,2 in accordance

    with 19 U.S.C. § 1516a(a)(2)(A), 19 U.S.C. § 1516a(a)(5), 28 U.S.C. § 2636(c), and

    Rules 3(a)(2) and 6(a) of the Rules of this Court. Plaintiffs timely file this Complaint

    within thirty days of October 2, 2023 in accordance with Rule 3(a)(2).

                                 STANDARD OF REVIEW

        9.      This Court reviews Commerce’s Final Results under 19 U.S.C. §

    1516a(b)(1)(B)(i) (whether Commerce’s determination is “unsupported by substantial

    evidence on the record, or otherwise not in accordance with law”).

                                  STATEMENT OF FACTS

        10.     On March 9, 2022, Commerce initiated the fourth administrative review of

    the antidumping duty order on certain softwood lumber from Canada. See Initiation

    of Antidumping and Countervailing Duty Admin. Reviews, 87 Fed. Reg. 13,252,

    13,254 (Dep’t Commerce Mar. 9, 2022). The period of review (“POR”) for this

    administrative review is January 1, 2021 to December 31, 2021. Id.


2
 Pursuant to CIT Rule 6(a)(1)(C), when the deadline to commence the action is a
Saturday, the period continues to run until the end of the next business day.

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   11.    Commerce selected two companies, Canfor (consisting of Canadian Forest

Products Ltd., Canfor Wood Products Marketing Ltd., and Canfor Corporation) and

West Fraser (consisting of West Fraser Mills Ltd., Blue Ridge Lumber Inc., Manning

Forest Products Ltd., and Sundre Forest Products Inc.), as mandatory respondents in

the fourth administrative review. See Mem. to Robert Bolling, Acting Director, Office

IV, Antidumping and Countervailing Duty Operations, from Maisha Cryor, Int’l Trade

Analyst, Office IV, Antidumping and Countervailing Duty Operations, “Administrative

Review of the Antidumping Duty Order on Certain Softwood Lumber Products from

Canada: Respondent Selection,” (Apr. 29, 2022) (on record of Case No. A-122-857).

Plaintiffs were not selected as a mandatory nor voluntary respondent in the fourth

administrative review but participated in this proceeding.

   12.    On January 27, 2023, Commerce published the Preliminary Results in the

Federal Register. See Certain Softwood Lumber Products From Canada:

Preliminary Results of Antidumping Duty Administrative Review; 88 Fed. Reg. 5,306

(Dep’t Commerce Jan. 27, 2023) (“Preliminary Results”) and accompanying

Decision Memorandum (Jan. 23, 2023) (“Prelim. Decision Mem.”).

   13.    In the Preliminary Results, Commerce calculated a dumping margin of

5.25 percent for Canfor, 6.90 percent for West Fraser. See Preliminary Results,

88 Fed. Reg. at 5,306. For the Preliminary Results, after applying the differential

pricing methodology (“DPM”), including the Cohen’s d test, Commerce determined

to use the average-to-transaction method to calculate Canfor’s and West Fraser’s

dumping margins based on the agency’s finding that the two mandatory

respondents’ U.S. sales exhibited a pattern of prices that differed significantly

among purchasers, regions, or time periods. See Prelim. Decision Mem. at 10.

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   14.    To determine the dumping margin for companies subject to the fourth

administrative review but not selected for individual examination (aka “non-selected

companies”), Commerce then calculated the weighted-average of the dumping

margins determined for the mandatory respondents using their ranged public sales

values. See Mem. to Robert Bolling, Acting Director, Office IV, Antidumping and

Countervailing Duty Operations, from Maisha Cryor, Int’l Trade Analyst, Office IV,

Antidumping and Countervailing Duty Operations, “Preliminary Results of the

Antidumping Duty Administrative Review of Certain Softwood Lumber Products from

Canada: Calculation of the Rate for Non-Examined Companies” (Jan. 23, 2023) (on

record of Case No. A-122-857). The result was 6.05 percent for non-selected

companies. See Preliminary Results, 88 Fed. Reg. at 5,306.

   15.    On February 27, 2023, Plaintiffs timely filed their case brief with

Commerce. See Letter to Sec’y Commerce from Baker & Hostetler LLP, “Softwood

Lumber from Canada: AD Fourth Administrative Review, Central Canada’s Case

Brief” (Feb. 27, 2023) (“Central Canada Case Br.”). Plaintiffs argued that, with

regard to the calculation of mandatory respondents’ dumping margins and the

resulting non-examined company margin applicable to Plaintiffs, (1) Commerce’s

application of the Cohen’s d test was unreasonable; (2) the meaningful difference

test does not analyze qualitative factors to make application of the Average-to-

Transaction (“A-T”) methodology reasonable; and (3) Commerce’s use of zeroing is

not in accordance with law. Id.

   16.    For the Final Results, Commerce failed to revise its application of the

DPM. Commerce continued to apply the Cohen’s d test to the mandatory

respondents as part of its differential pricing analysis, affecting the non-selected

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company margin as a result. See IDM at 18-36. And Commerce disagreed that it

was required by law to discontinue its use of “zeroing.” See id. at 36-42.

   17.    In the Final Results, Commerce again calculated a dumping margin of

5.25 percent for Canfor, 6.96 percent for West Fraser and 6.20 percent for non-

selected companies. Final Results, 88 Fed. Reg. at 50,107.

   18.    Subsequently, the Committee Overseeing Action for Lumber International

Trade Investigations or Negotiations (“Petitioner”) submitted a ministerial error

allegation on August 2, 2023. See Letter to Sec’y Commerce from Picard Kentz &

Rowe LLP, “Certain Softwood Lumber from Canada: Ministerial Error Comments,”

(Aug. 2, 2023) with regard to the calculation of West Fraser’s margin. Commerce

amended the Final Results to correct the ministerial error raised by Petitioner,

calculating an amended dumping margin of 7.06 percent for West Fraser and 6.26

percent for non-selected companies. See Amend. Final Results, 88 Fed. Reg. at

61,511. No change was made in the Amended Final Results with regard to

Commerce’s DPM.

   19.    This appeal followed.

                            STATEMENT OF CLAIMS

   20.    This Court shall hold unlawful any determination, finding, or conclusion

found to be unsupported by substantial evidence on the record, or otherwise not in

accordance with law. 19 U.S.C. § 1516a(b)(1).

   21.    Commerce’s Final Results (as amended) are unsupported by substantial

evidence and are otherwise not in accordance with law in the following respects:

                                   COUNT ONE

   22.    Paragraphs 1-21 are incorporated by reference.

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   23.    Commerce’s findings based on the DPM suffer from several defects,

including (1) when running the Cohen’s d test, the first step in the DPM, Commerce

fails to adhere to basic and widely-accepted statistical assumptions for the

application of that test; (2) Commerce calculates the Cohen’s d denominator with

simple average standard deviations, disregarding the scholarly literature and

ignoring recent jurisprudence that identify required preconditions for the use of the

Cohen’s d denominator and question Commerce’s failure to use weighted average

standard deviations for unequal sample sizes; (3) the ratio test discounts the plain

language of the targeted dumping statute and cumulates into a single pattern

differences that may exist across customers, regions, or time periods; and (4) the

“meaningful difference” component of the DPM deliberately and systematically

ignores alternative explanations for price observations (such as seasonality) and

persuasive justification for reliance on the preferred Average-to-Average (“A-A”)

price comparison method. Commerce, therefore, fails to perform a “fair comparison”

in determining dumping as required by the statute. Commerce’s findings are

unsupported by substantial evidence and otherwise not in accordance with law.

                                  COUNT TWO

   24.    Paragraphs 1-23 are incorporated by reference.

   25.    As a result of the flawed DPM, and without justification for resort to the A-T

methodology, Commerce calculated dumping margins for the mandatory respondents

using the A-T methodology with zeroing. Without the A-T methodology, Commerce

would not have used zeroing and without zeroing Commerce would have found no

dumping margin for either Canfor or West Fraser and, hence, no dumping with




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   respect to the non-selected companies. The use of zeroing here is unsupported by

   substantial evidence and is otherwise not in accordance with the law.

                        PRAYER FOR JUDGEMENT AND RELIEF

      WHEREFORE, Plaintiffs respectfully request that this Court:

      1.     Enter judgment in favor of Plaintiffs;

      2.     Hold as unlawful Commerce’s Final Results (as amended) that are the

   subject of this Complaint;

      3.     Remand the Final Results to Commerce for a redetermination consistent

   with the judgment and finding of this Court; and

      4.     Grant Plaintiffs such other relief as the Court deems just and proper.

                                                 Respectfully submitted,




                                                 Elliot J. Feldman
                                                 Michael S. Snarr
                                                 Ronald J. Baumgarten
                                                 Tung A. Nguyen

                                                 Baker Hostetler LLP
                                                 Counsel to Resolute, CIFQ and OFIA


Dated: October 30, 2023




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                                   ATTACHMENT A

CIFQ Members are:
  1. 9224-5737 Québec inc. (a.k.a. A.G. Bois)
  2. Arbec Lumber Inc.
  3. B.B. Pallets Inc.
  4. Benoît & Dionne Produits Forestiers Ltée
  5. Blanchet Multi Concept Inc.
  6. Bois Aisé de Montréal Inc.
  7. Bois Bonsaï Inc.
  8. Bois Daaquam Inc.
  9. Bois D'Oeuvre Cedrico Inc. (a.k.a. Cederico Lumber Inc.)
  10. Bois et Solutions Marketing SPEC, Inc.
  11. Boisaco Inc.
  12. Boscus Canada Inc.
  13. Busque & Laflamme Inc.
  14. Carrier & Bégin Inc.
  15. Clermond Hamel Ltee
  16. CWP - Industriel Inc.
  17. CWP - Montreal Inc.
  18. EACOM Timber Corporation
  19. Goodfellow Inc.
  20. Groupe Crête Chertsey
  21. Groupe Crête division St-Faustin
  22. Groupe Lebel inc.
  23. Groupe Lignarex Inc.
  24. Jan Woodlands (2001) Inc.
  25. Kebois Ltee/Ltd.
  26. Lafontaine Lumber Inc.
  27. Les Bois d’œuvre Beaudoin Gauthier inc.
  28. Les Bois Martek Lumber
  29. Les Chantiers de Chibougamau Ltd.


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  30. Les Industries P.F. Inc.
  31. Les Produits Forestiers D & G Ltee
  32. Les Produits Forestiers Sitka Inc.
  33. Lulumco inc.
  34. Maibec inc.
  35. Marcel Lauzon Inc.
  36. Portbec Forest Products Ltd.
  37. Produits Forestiers Petit Paris
  38. Produits forestiers Temrex, s.e.c.
  39. Produits Matra Inc.
  40. Promobois G.D.S. inc.
  41. René Bernard Inc.
  42. Resolute FP Canada Inc. and affiliates
  43. Scierie St-Michel inc.
  44. Scierie West Brome Inc.
  45. Séchoirs de Beauce Inc.
  46. Usine Sartigan Inc.



OFIA members are:
  1. Manitou Forest Products Ltd
  2. Lecours Lumber Co. Limited
  3. Nakina Lumber Inc.
  4. Hornepayne Lumber LP
  5. White River Forest Products L.P.
  6. Midway Lumber Mills Ltd
  7. Resolute FP Canada Inc. and affiliates.




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